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     Federal Defender
 2   LAUREN CUSICK, Bar #257570
     Assistant Federal Defender
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JOSE SANCHEZ-PALOMINO
 7
 8
 9                         IN THE UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,           )   No. CR-S-09-0094 MCE
12                                       )
                      Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
13                                       )   MOTION SCHEDULE AND EVIDENTIARY
          v.                             )   HEARING
14                                       )
     JOSE SANCHEZ-PALOMINO,              )   Date: July 30, 2009
15                                       )   Time: 9:00 a.m.
                      Defendants.        )   Judge: Hon. Morrison C. England
16                                       )
     _____________________________       )
17
18        It is hereby stipulated between the parties, Lauren Cusick,
19   Assistant Federal Defender, for the defendant, and Todd Leras, Assistant
20   United States Attorney, counsel for the Plaintiff, that the status
21   conference set for Motion Hearing set for June 11, 2009 be vacated and
22   rescheduled for July 30, 2009 at 9:00 a.m.         The following is the new
23   schedule:
24        Defense Motion filed by       . . . . . . . . . . . . . . .          July 2, 2009
25        Government’s Response due       . . . . . . . . . . . . . .      July 14, 2009
26        Defense Reply due     . . . . . . . . . . . . . . . . . .        July 23, 2009
27        Evidentiary Hearing       . . . . . . . . . . . . . . . . .      July 30, 2009
28         The parties agree that time should be excluded from the date of
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 1   this order until the Evidentiary Hearing set for July 30, 2009, pursuant
 2   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 (reasonable time to
 3   prepare).

 4    Dated: June 10, 2009

 5                                         Respectfully submitted,

 6
                                           DANIEL BRODERICK
 7                                         Federal Defender

 8
                                           /s/ Lauren Cusick
 9                                         LAUREN CUSICK
                                           Assistant Federal Defender
10                                         Attorney for Defendant

11
12                                         LAWRENCE G. BROWN
                                           Acting United States Attorney
13
14
     Dated: June 10, 2009                  /s/ Lauren Cusick for
15                                   BY:   TODD LERAS
                                           Assistant U.S. Attorney
16                                         per telephonic authorization

17
18
                                           ORDER
19
     IT IS SO ORDERED.
20
     Dated: June 11, 2009
21
22
                                           _____________________________
23                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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